442 F.2d 624
    Joe THOMPSON, Petitioner-Appellant,v.C. Murray HENDERSON, Warden, Respondent-Appellee.No. 31156 Summary Calendar.**Rule 18, 5 Cir. See Isbell Enterprises, Incv.Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    May 11, 1971.
    
      Joe Thompson, pro se.
      Robert P. Jackson, Asst. Dist. Atty., 9th Jud.  Dist. Court, Alexandria, La., for appellee.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      The sole issue this Court must determine upon this appeal from the District Court's denial of habeas corpus relief is whether the District Court erred in holding that Thompson intelligently waived his right to counsel when he pleaded guilty to the charge of simple burglary.
    
    
      2
      The District Court found the relevant facts to be as follows:
    
    
      3
      1.  Petitioner was offered assistance of counsel in open court and refused such assistance.
    
    
      4
      2.  More than six years intervened between his plea of guilty and sentencing (and the filing of his petition for habeas corpus in the state court), yet petitioner did not attempt to withdraw his guilty plea or seek counsel.
    
    
      5
      3.  The record affirmatively shows that the petitioner told the judge that he fully understood the consequences and possible sentence that might be imposed.
    
    
      6
      4.  During the week before the six-year sentence was imposed the same defendant plead guilty to an armed robbery charge in an adjoining parish.  There, he was represented by appointed counsel.  This is evidence sufficient to show that he knew of his right to have counsel and knew of his right that counsel would be furnished to him without charge.
    
    
      7
      We find no clear error in the District Court's findings of fact, and agree that the files and records refute appellant's contention that his waiver of counsel was invalid.  See Lujan v. United States, 5 Cir., 1970, 431 F.2d 871.
    
    
      8
      Affirmed.
    
    